Case 1:23-cv-00783-DII Document 1-4 Filed 07/13/23 Page 1 of 4




       ATTACHMENT 3
      Case 1:23-cv-00783-DII Document 1-4 Filed 07/13/23 Page 2 of 4


                                                               S.B. No. 1893



                                    AN ACT
relating to prohibiting the use of certain social media
applications and services on devices owned or leased by
governmental entities.
       BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF TEXAS:
       SECTION 1. Subtitle A, Title 6, Government Code, is amended
by adding Chapter 620 to read as follows:
     CHAPTER 620. USE OF CERTAIN SOCIAL MEDIA APPLICATIONS AND SERVICES
                  ON GOVERNMENTAL ENTITY DEVICES PROHIBITED
       Sec. 620.001. DEFINITIONS. In this chapter:
             (1) "Covered application" means:
                   (A) the social media service TikTok or any
successor application or service developed or provided by ByteDance
Limited or an entity owned by ByteDance Limited; or
                   (B) a social media application or service
specified by proclamation of the governor under Section 620.005.
             (2) "Governmental entity" means:
                   (A) a department, commission, board, office, or
other agency that is in the executive or legislative branch of state
government and that was created by the constitution or a statute,
including an institution of higher education as defined by Section
61.003, Education Code;
                   (B) the supreme court, the court of criminal
appeals, a court of appeals, a district court, or the Texas Judicial
Council or another agency in the judicial branch of state
government; or
                   (C) a political subdivision of this state,
including a municipality, county, or special purpose district.
       Sec. 620.002. DEFINING SECURITY RISK TO THIS STATE. For
purposes of this chapter, a social media application or service
poses a risk to this state if:
             (1) the provider of the application or service may be
required by a foreign government, or an entity associated with a
foreign government, to provide confidential or private personal
information collected by the provider through the application or
service to the foreign government or associated entity without
substantial due process rights or similar legal protections; or
             (2) the application or service poses a similar risk to
the security of this state's sensitive information, critical
infrastructure, or both, as an application or service described by
Section 620.001(1)(A).
       Sec. 620.003. PROHIBITION; MODEL POLICY. (a) Subject to
Section 620.004, a governmental entity shall adopt a policy
prohibiting the installation or use of a covered application on any
device owned or leased by the governmental entity and requiring the
removal of covered applications from those devices.
       (b) The Department of Information Resources and the
Department of Public Safety shall jointly develop a model policy
for governmental entities to use in developing the policy required
by Subsection (a).
       Sec. 620.004. EXCEPTIONS; MITIGATING MEASURES. (a) A
policy adopted under Section 620.003 may provide for the
installation and use of a covered application to the extent
necessary for:
             (1) providing law enforcement; or
             (2) developing or implementing information security
measures.
       (b) A policy allowing the installation and use of a covered
      Case 1:23-cv-00783-DII Document 1-4 Filed 07/13/23 Page 3 of 4
application under Subsection (a) must require:
             (1) the use of measures to mitigate risks posed to this
state during the use of the covered application; and
             (2) the documentation of those measures.
       Sec. 620.005. APPLICATIONS IDENTIFIED BY GOVERNOR'S
PROCLAMATION. The governor by proclamation may identify social
media applications or services that pose a risk to this state as
described by Section 620.002.
       Sec. 620.006. APPLICATION IDENTIFIED BY DEPARTMENT OF
INFORMATION RESOURCES AND DEPARTMENT OF PUBLIC SAFETY. (a) The
Department of Information Resources and the Department of Public
Safety shall jointly identify social media applications or services
that pose a risk to this state as described by Section 620.002.
       (b) The Department of Information Resources shall:
             (1) annually submit a list of applications and
services identified under Subsection (a) to the governor;
             (2) publish the list on the department's publicly
accessible Internet website; and
             (3) periodically update the list on that website.
       SECTION 2. Not later than the 60th day after the date the
Department of Information Resources and the Department of Public
Safety make available the model policy required by Section
620.003(b), Government Code, as added by this Act, each
governmental entity shall adopt the policy required by Section
620.003(a), Government Code, as added by this Act.
       SECTION 3. This Act takes effect immediately if it receives
a vote of two-thirds of all the members elected to each house, as
provided by Section 39, Article III, Texas Constitution. If this
Act does not receive the vote necessary for immediate effect, this
Act takes effect September 1, 2023.




______________________________                ______________________________
   President of the Senate                         Speaker of the House

        I hereby certify that S.B. No. 1893 passed the Senate on
April 18, 2023, by the following vote: Yeas 31, Nays 0;
May 16, 2023, Senate refused to concur in House amendments and
requested appointment of Conference Committee; May 17, 2023, House
granted request of the Senate; May 27, 2023, Senate adopted
Conference Committee Report by the following vote: Yeas 30,
Nays 1.


                                              ______________________________
                                                 Secretary of the Senate

       I hereby certify that S.B. No. 1893 passed the House, with
amendments, on May 9, 2023, by the following vote: Yeas 144,
Nays 0, two present not voting; May 17, 2023, House granted request
of the Senate for appointment of Conference Committee;
May 28, 2023, House adopted Conference Committee Report by the
following vote: Yeas 139, Nays 2, two present not voting.


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                                                 Chief Clerk of the House



Approved:
      Case 1:23-cv-00783-DII Document 1-4 Filed 07/13/23 Page 4 of 4

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           Date


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          Governor
